Case 3:20-cv-00009-NKM Document 4-20 Filed 02/27/20 Page 1 of 19 Pageid#: 133




    Uighur Foreign
    Fighters:
    An Underexamined Jihadist
    Challenge

    Uighurs, specifically individuals of Turkic decent from China s northwest
                                                                                         ICCT Policy Brief
    province of Xinjiang, have become a noticeable part of the constellation of
                                                                                         November 2017
    globally active jihadist terror groups. Uighur jihadists first came to the world s
    attention when the United States and its allies invaded Afghanistan in 2001.         Authors:
    While continuing their cooperation with the Taliban under the banner of the          Colin P. Clarke
    East Turkestan Islamic Movement (ETIM), Uighur jihadists have now spread             Paul Rexton Kan
    to Southeast Asia and the Middle East. ET M s members are part of the
    Turkestan Islamic Party fighting with the Al-Qaeda umbrella group in Syria,
    but other Uighurs have joined IS in Syria and Iraq, and still others have joined
    local terror groups in Indonesia. However, Uighurs are currently
    underexamined as active participants in jihadist organisations. Publications
    about Uighurs have been piecemeal focusing on their struggles against the
    Chinese government or narrowly describing the specific groups in which
    Uighurs have been participants. This Policy Brief explores the scope and scale
    of Uighur Foreign Fighters (UFF) activity in various locations, its implications
    and how their participation in global jihadist groups may evolve.




    DOI: 10.19165/2017.2.05
    ISSN: 2468-0486




                                                                                                      EXHIBIT T
Case 3:20-cv-00009-NKM Document 4-20 Filed 02/27/20 Page 2 of 19 Pageid#: 134




              About the Authors
              Colin P. Clarke

              Colin P. Clarke is a political scientist at the RAND Corporation. He received his Ph.D. in
              international security policy from the University of Pittsburgh. At RAND, his research
              focuses on terrorism, insurgency and criminal networks. He has directed studies on ISIS
              financing, the future of terrorism and transnational crime, and lessons learned from all
              insurgencies between the end of WWII and 2009. In addition to his work at RAND, he is
              an Associate Fellow at the International Centre for Counter-Terrorism (ICCT) The
              Hague, and a lecturer at Carnegie Mellon University. Clarke has briefed his research at
              a range of national and international security forums, including the U.S. Army War
              College, US Air Force Special Operations School, Society for Terrorism Research
              International Conference, the Global Counterterrorism Forum (GCTF) and the Counter
              ISIS Financing Group (CIFG). He has also testified as an expert witness on terrorism
              before the United States Congress, including both the House Foreign Affairs Committee
              and the House Homeland Security Committee.

              Clarke appears frequently in the media and has published his research in Foreign
              Affairs, Foreign Policy, The Atlantic, Politico, Lawfare, and numerous scholarly journals,
              including Small Wars & Insurgencies, Historical Methods, and Military Operations Research.
              He is the author of Terrorism, Inc.: The Financing of Terrorism, Insurgency, and Irregular
              Warfare, and is currently working on Terrorism: The Essential Reference Guide, due to be
              published in 2018.


              Paul Rexton Kan

              Paul Rexton Kan is Associate Professor of National Security Studies and the Henry L.
              Stimson Chair of Military Studies at the US Army War College. He is the author of the
              books Drugs and Contemporary Warfare and Cartels a Wa : Me ic D g-Fueled Violence
              and the Threat to US National Security. He is also the author of numerous articles on the
              intersection of drug trafficking, crime and modern forms of armed conflict, including:
               Drugging Bab lon: The llegal Narcotics Trade And Nation-Building in raq ; Criminal
              Sovereignt : Understanding North Korea s llicit nternational Activities ; and C berwar
              in the Underworld: Anon mous vs. Los Zetas in Me ico . His work has been cited
              in Forbes, and the Christian Science Monitor. In February 2011, he served as the Senior
              Visiting Counternarcotics Adviser at NATO Headquarters in Kabul, Afghanistan.

              About ICCT

              The International Centre for Counter-Terrorism       The Hague (ICCT) is an independent think and do tank
              providing multidisciplinary policy advice and practical, solution-oriented implementation support on
              prevention and the rule of law, two vital pillars of effective counter-terrorism. CCT s work focuses on themes
              at the intersection of countering violent extremism and criminal justice sector responses, as well as human
              rights-related aspects of counter-terrorism. The major project areas concern countering violent extremism,
              rule of law, foreign fighters, country and regional analysis, rehabilitation, civil societ engagement and victims
              voices. Functioning as a nucleus within the international counter-terrorism network, ICCT connects experts,
              policymakers, civil society actors and practitioners from different fields by providing a platform for productive
              collaboration, practical analysis, and exchange of experiences and expertise, with the ultimate aim of
              identifying innovative and comprehensive approaches to preventing and countering terrorism.




                                                                                                                   EXHIBIT T
Case 3:20-cv-00009-NKM Document 4-20 Filed 02/27/20 Page 3 of 19 Pageid#: 135




              On the sidelines of a May 2017 meeting between Syrian and Chinese businessmen in
              Beijing, S ria s ambassador to China startled reporters with a surprising number 5000
                 which represented how many Uighurs he claimed were fighting in Syria for various
              jihadist groups.1 The figure was several times higher than the Chinese government s
              estimate of 300 Uighurs fighting for the Islamic State (IS) in Syria. 2 The precise number
              of Uighurs fighting in S ria is difficult to assess. The S rian ambassador s high figure
              may have been an intentional overestimation in an attempt to further encourage
              Chinese support for the Assad regime. In turn, the Chinese government may have
              purposefully underestimated the number to lessen public anxieties among ethnic Han
              Chinese that Uighur attacks have created in recent years. Regardless of the exact
              numbers, Uighurs, specifically predominantly Sunni Muslims of Turkic descent from
              China s northwest province of Xinjiang, have become a prominent cog in the
              constellation of globally active jihadist terror groups.

              Uighur jihadists first came to the world s attention in 2001, when the United States (US)
              and coalition forces killed and captured a number of them fighting alongside the
              Taliban and Al-Qaeda in Afghanistan under the banner of the East Turkestan Islamic
              Movement (ETIM). However, Uighur jihadists have now spread to the Middle East and
              Southeast Asia. ETIM s members not only continue their operations in Afghanistan and
              parts of Pakistan but are part of the Turkestan Islamic Party (TIP) fighting with the Al-
              Qaeda umbrella group Jabhat Fateh al Sham (JFS) in Syria. Other Uighurs have joined IS
              in Syria and Iraq while still others have joined local terror groups in Indonesia.

              Although they participate in disparate organisations with differing goals, Uighur Foreign
              Fighters (UFFs) share unique characteristics as a group. Uighurs consider themselves
              separate and distinct in ethnicity, culture, and religion from the Han Chinese majority
              that governs them. These distinctions form the basis of the Uighurs religious ethno-
              nationalist identity, leading some of them to engage in violent activities aimed at
              establishing their own state, East Turkestan. Indeed, over the past two decades,
              Uighurs have launched several terror attacks in China in pursuit of this goal. Some
              recent attacks have included:

                      October 2013: ETIM attack at Tiananmen Square in Beijing kills five.3
                      February 2014: A knife attack at a train station in Kunming kills 30. 4
                      April 2014: A knife and bomb attack at the South Railway Station of
                      Urumqi kills three and wounds 79.5
                      May 2014: Two cars crashed into a market and the attackers lobbed
                      explosives, killing 31 people in Urumqi.6
                      September 2014: Bomb blasts (including suicide bombers) and
                      clashes left 50 people dead and 50 injured. 7




                                                                                                EXHIBIT T
Case 3:20-cv-00009-NKM Document 4-20 Filed 02/27/20 Page 4 of 19 Pageid#: 136




                      October 2015: A knife attack on a coalmine kills 50. 8

              China s repressive tactics in Xinjiang, such as banning certain religious names for
              Uighur babies, restrictions on the length of men s beards, limits on observing Ramadan
              and preferential treatment for Han Chinese in employment and education, have further
              hardened Uighur identity and increased Islamic radicalisation. This oppression is also
              a factor in the increasing Islamisation of what was previously a separatist insurgency. 9

              Uighur identity and Islamic radicalisation have been reinforced from beyond the
              borders of China as well. Turkey has been historically sympathetic to the Uighurs
              because Turks share an ethnic link with them. n fact, Turke s President Recep Tayyip
              Erdo an once proclaimed, Eastern Turkestan is not onl the home of the Turkic
              peoples but also the cradle of Turkic history, civilisation and culture [ ]. The martyrs of
              Eastern Turkestan are our mart rs. 10 Turke s s mpathies ma have also translated
              into assistance to Uighurs seeking to join jihadist groups in Syria. 11 Apart from Turkish
              kinship and support, the appeal of radical Islamic ideology outside of China has
              attracted many Uighurs to participate in violent jihadism as part of their religious
              identity and as a way to further their struggle against the Chinese authorities. This
              appeal was evident in a recent IS video, in which two Uighurs directed their threats at
               evil Chinese communist infidel lacke s and promised to spill rivers of blood in China
              as retaliation for the tears that flow from the e es of the oppressed. 12

              UFFs are, therefore, the products of the push of repression at home and the pull of
              ethnic and religious appeals abroad. These particular characteristics of Chinese
              Uighurs have created different contours in their participation as foreign fighters in
              jihadist operations. However, Uighurs are currently underexamined as foreign fighters.
              Analyses of Uighurs have been piecemeal tightly focusing on their struggles against
              the Chinese government or narrowly describing the operations in which Uighurs have
              participated. Given the difficulty of developing quantitative studies or conducting
              research of a clandestine group engaged in violent operations in a number of different
              battlefronts along with the difficulty of foreigners gaining access to Uighurs in Xinjiang,
              relying on secondary sources nonetheless paints a portrait of the widespread
              participation of Uighurs in jihadist circles. This Policy Brief uses media accounts and
              think tank studies to explore the scope and scale of UFFs in various locations, their
              implications for international security and the ways in which their participation in global
              jihadist groups may evolve.


              UFFs of the Turkistan Islamic Party in Syria
              As a participant in the Syrian Civil War, the East Turkestan Islamic Movement operates
              as the Turkestan Islamic Party (TIP), which is also known as Katibat Turkistani




                                                                                                       4




                                                                                               EXHIBIT T
Case 3:20-cv-00009-NKM Document 4-20 Filed 02/27/20 Page 5 of 19 Pageid#: 137




              (Turkistan Brigade). Information about the origins of ETIM is sparse. According to a
              Council on Foreign Relations study, a Russian newspaper is the first to have publicly
              mentioned ETIM in 2000 when Osama Bin Laden pledged his support for the group
              during a 1999 meeting in Afghanistan. 13 However, ETIM is believed to have been in
              existence well before this 1999 meeting. The group is believed to have begun as a
              separatist movement, but became drawn to radical Islam with the nearby presence of
              Al-Qaeda and the Taliban as well as increasing Chinese repression of Uighurs in
              Xinjiang. ETIM seeks to violently split the territory of Xinjiang, China, and link it with
              other Uighur territory across Central Asia. Its members have trained with Al-Qaeda and
              the Taliban in both Afghanistan and Pakistan. After the US invasion of Afghanistan, the
              US Department of State labeled ETIM as a foreign terrorist organisation because of its
              relationship with Al-Qaeda and the Taliban.

               n keeping with ET M s ideological and strategic affiliation with Al-Qaeda, TIP originally
              fought with Al Nusra, Al-Qaeda s franchise in Syria. On July 28, 2016, TIP became an
              official faction of JFS, the most recent iteration of Al Nusra, which acts as an Al-Qaeda
              umbrella organisation in Syria dedicated to the overthrow of the government of Bashar
              al-Assad and the establishment of Sharia law. However, Chinese Major General Jin
              Yinan believes that TIP is using the Syrian conflict to increase the recognition of its
              struggle against China and to gain operational experience in order to return to China
              and breathe new life into the insurgency back home.14

              According to Uran Botobekov, an expert in Central Asian jihadist groups, there are
              approximately 2000 members of TIP in Syria, largely grouped in Idlib province. 15
              Following the battlefield deaths of several TIP leaders, Ibrahim Mansour rose to assume
              leadership of the group. Although a Uighur by ethnicity, little else is known about
              Mansour s origins. His name is not Turkic and was likel selected as an Arabic nom-de-
              guerre, in keeping with the habits of other foreign fighters. TIP appears to work well
              with locals in the territories where it is present and has readily cooperated with a
              number of non-Uighur jihadists who are part of JFS in key battlefield operations in
              Latakia and Aleppo. In those towns occupied by JFS, TIP members are relatively popular
              because they are not associated with administrative issues, such as levying taxes or
              enforcing Sharia law.16 Nonetheless, Uighurs in TIP are not unsullied by some of the
              more extreme actions perpetrated by their fellow extremists and have desecrated
              churches, executed Christians,17 and participated in suicide bombings.18

              Last ear was pivotal for T P s public profile. The group began to release a series of
              propaganda videos highlighting the fighting prowess of Uighurs in Syria and showing
              the Uighurs confronting the People s Liberation Arm (PLA) in the Xinjiang capital of
              Urumqi. Some videos resembled music videos with heroic images of TIP fighters and
              songs in the Uighurs Turkic language pla ing in the background. A translation of one




                                                                                              EXHIBIT T
Case 3:20-cv-00009-NKM Document 4-20 Filed 02/27/20 Page 6 of 19 Pageid#: 138




              song s l rics in the video entitled M Desire are we want to live according to Sharia
              law as true Muslims and conduct hol war against infidels on earth. 19

               n Ma 2016, an audio message was broadcast from ET M s leader Abd al-Haqq al
              Turkistani, who was believed to have been killed in 2010 by a US drone strike, although
              this was later disproven.20 Al-Haqq s 2016 audio message was a critical rebuttal to the
              rise of IS as a powerful jihadist movement that had eclipsed the ET M s partner, Al-
              Qaeda. From 2014 forward, many Uighurs have joined IS and fought in Iraq and Syria.
              Sensing the competition for the recruitment of Uighur jihadists, Al-Haqq s message
              condemned S and articulated ET M s goals for T P members in S ria. Al-Haqq firmly
              stated the proclamation of Caliphate [by IS] was equivalent to unripened crop
              harvesting, since it was established without the approval of the Islamic leaders and the
              Ummah [the international communit of Muslims]. 21 Affirming the assessment of
              Chinese Major General Jin, Al-Haqq further directed T P members to shun S and to
              make jihad in Sham, help their brothers, and tomorrow the soldiers of Islam must be
              willing to return to China to emancipate the Western province of Xinjiang from the
              communist invaders. 22

              Despite al-Haqq s e pressed goals (and Major General Jin s fears) of having T P
              members return to China to wage jihad, the Uighurs who have travelled to Syria appear
              content to remain in the country. In fact, unlike many other foreign fighters in the Syrian
              Civil War, many Uighurs have brought whole families with them to settle in towns
              abandoned b Assad s allies. Arriving as whole families is consistent with the Uighurs
              belief that they are fleeing an oppressive Chinese regime and are seeking to live as
              Muslims unmolested by the authorities. To pay for the journey from China, Uighur
              families have sold their homes and property in Xinjiang, thus there are few attachments
              in Xinjiang that would draw them back. The seeming disinclination to return home is
              also apparent in their willingness to show their faces in propaganda videos, therefore
              making their identities known to Chinese authorities. Their lack of concern about
              anonymity is one more characteristic that stands in contrast to many other foreign
              fighters who routinely conceal their identities. 23 Another unique facet of Uighurs
              bringing their families to join TIP in Syria is the presence of their children in war zones.
              T P is proficient in training child soldiers, which was a strength of ET M s operations in
              Afghanistan. As part of their responsibilities to JFS, TIP trains not only Uighur children,
              but local children to be little jihadists. 24 While many jihadi groups have children in
              their ranks, TIP specialises in the training of children as one of their niche capabilities.
              In a series of videos, TIP shows nearly five dozen child soldiers using weapons and
              chanting jihadist slogans.25

              Ironically, the Uighurs who have joined TIP in Syria may be working at cross purposes
              with al-Haqq s broader goal of bringing jihad back to China. The Uighurs, particularly
              those who have brought their families, may be dedicated to jihad only as it serves as a
              type of religiously-based refugee resettlement program rather than as part of a larger




                                                                                                        6




                                                                                                EXHIBIT T
Case 3:20-cv-00009-NKM Document 4-20 Filed 02/27/20 Page 7 of 19 Pageid#: 139




              religious or ethno-nationalist struggle. They may be unwilling to give up their new lives
              and risk returning to China to fight for the Xinjiang s independence. Moreover, Uighurs
              in TIP may also be constrained in their ability to return to China. For example, there is
              speculation that Turkey views TIP as an important cat s paw for its ambitions in S ria,26
              and that Turkey may also want to soothe its relationship with China over the Uighur
              issue.27 These possibilities ma create a Turkish unwillingness to facilitate T P members
              movement through its country or offer them any means to leave Syria. TIP Uighurs may
              be a fixture in the region with few means, or incentives, to return to China.


              Uighurs Joining IS in Iraq and Syria
              Tens of thousands of foreign fighters flocked to join IS from over 80 countries one of
              which was China. As discussed above, the overall numbers of Uighur foreign fighters in
              Iraq and Syria is unclear. The Chinese government has suggested the number could be
              as high as 300, while other sources have pegged the number closer to 100. Whatever
              the actual number is, there is little doubt that Uighurs have left China s restive Xinjiang
              province and joined the jihad in the Middle East, fighting specifically under the banner
              of IS. While there is a longstanding relationship between Uighur foreign fighters and
              groups in South and Central Asia, the Middle East is fairly new ground.

              The profiles of the fighters are atypical as well. An analysis by the New America
              Foundation of 4,000 registration records of fighters who joined IS between mid-2013
              and mid-2014 found that Uighur foreign fighters were generally older, poorer, and
              more likel to join S with their families. 28 And as noted in Foreign Policy, almost without
              exception, the Uighur recruits were unskilled, and uneducated. 29 Most of those who
              traveled to Iraq and Syria were probably intending the move to be permanent, given
              the high cost of travel and relocation. S s recruiting pitch toward Uighurs emphasised
              camaraderie and educational opportunities available to those living in the Caliphate. As
              previousl mentioned, man Uighurs likel fled due to China s increasingl draconian
              policies specifically targeting the Uighur minority, a major push factor in their
              radicalisation.

              Interestingly, the majority of the Uighur sample from the New America report had no
              jihadist experience, meaning they were unlikely to be connected to ETIM, TIP or other
              well-known Uighur jihadist organisations. These previously unaffiliated recruits could
              very well have joined the Al-Qaeda-linked TIP or the IS-affiliated ETIM after arrival in
              Syria. In any case, ETIM and TIP reportedly collaborate closely on the battlefield in Syria,
              suggesting the Al-Qaeda versus IS rivalry does not always extend down to the lower
              echelons of the jihad.30 Still, there have been splits within the broader Uighur jihadist
              movement before, a development that frightened Beijing, as it seemed to lead to a




                                                                                                EXHIBIT T
Case 3:20-cv-00009-NKM Document 4-20 Filed 02/27/20 Page 8 of 19 Pageid#: 140




              spiral of outbidding between the main groups. The result was an increase in fiery
              rhetoric calling for attacks against the Chinese state. 31

              A March 2017 video shows Uighur militants threatening China with an image of Chinese
              President Xi Jinping before switching to a shot of a burning Chinese flag. Some videos
              appear to have been produced in China, with threats that Uighur foreign fighters will
              return home to wage jihad.32 Both IS and Al-Qaeda have weighed in on the situation in
              different media products, with IS leader Abu Bakr al-Baghdadi alleging that Muslim
              rights in China have been forcibl sei ed and advocating revenge. 33


              UFFs in Southeast Asia
              Uighur foreign fighters have appeared frequently in parts of Southeast Asia, including
              Malaysia, Indonesia, and Thailand. From these countries, they have traveled to Turkey
              and then either remained in Turkey or continued on to Iraq or Syria. 34 In numerous
              cases, Uighurs have been detained in transit countries in Southeast Asia where they
              were traveling illegally on forged Turkish passports or were falsely claiming to be
              Turkish citizens.35

              There has been a recent crackdown in Indonesia, in which the Indonesian security
              agencies have arrested and in some cases engaged in shootouts with Uighur militants
              affiliated with the Eastern Indonesia Mujahedin, a terrorist group sympathetic to IS.36
              There have also been links alleged between Uighur terrorists and the deadly bombing
              in Bangkok, Thailand in August of 2015.37


              Future Directions for UFFs
              UFFs have now increased their recognition abroad and widened their connections with
              other jihadist groups, expanding their militant network across the globe. As a result,
              UFFs will be an abiding presence in international jihadist violence in the near future.
              Nonetheless, like other foreign fighters, UFFs confront a number of dilemmas. As
              events in Iraq and Syria unfold, surviving UFFs in those countries must decide whether
              to remain active in both countries with their respective groups, retreat and regroup in




                                                                                                   8




                                                                                           EXHIBIT T
Case 3:20-cv-00009-NKM Document 4-20 Filed 02/27/20 Page 9 of 19 Pageid#: 141




              another country, join other jihadist groups, attempt direct attacks in China or disengage
              from participating in radical jihadist operations altogether.

              Unlike many foreign fighters, however, UFFs face these dilemmas in ways that are
              unique to their Uighur identity. Any significant alteration in the push/pull factors of
              Chinese repression in Xinjiang and opportunities to engage in jihad abroad will add to
              the pressures and inducements facing UFFs. China s increasing crackdown in Xinjiang
              may create both a new surge in Uighur radicalisation and a new pool of recruits willing
              to engage in jihadist operations abroad. Seemingly under the radar, China has figured
              prominently in jihadi strategy for the past decade, and the Uighur veterans of the Syrian
              civil war could be envisioned as shock troops in the simmering insurgency in the
              Western part of the country.38

              There is little doubt that the Chinese government is concerned. In late December 2015,
              Beijing handed down new counter-terrorism legislation that would permit the People s
              Liberation Arm (PLA) and the People s Armed Police (PAP) to seek permission from the
              Central Military Commission (CMC) to conduct counter-terrorism operations outside of
              China.39 One thing this could signal is Chinese concern that its citizens or assets in the
              Middle East or elsewhere could come under attack from Uighur jihadists. China s rising
              interest in Syria may lead to greater support for taking a harder line against jihadist
              groups that include UFFs among their members. A more aggressive Chinese approach
              to counter-terrorism would be a departure from the status quo, as China has typically
              relied on assertive security policies on the domestic front and a foreign policy centered
              on economic interests and sovereignty as a code word for non-intervention.40

              In addition to Chinese government actions, the actions of the Turkish government will
              also contribute to the shaping of the UFFs decision-making. Because of their kinship
              with the Turks, UFFs are at the merc of the Turkish government s calculations on the
              civil war in Syria as well as Turkish-Chinese relations. If the Turkish government decides
              to increase, stem or halt support for Uighur issues, UFFs in Iraq, Syria and as far away
              as Southeast Asia would feel the effects.


              1. Become Proxies of Turkey in Post-Conflict Syria

              UFFs in T P ma evolve into the cat s paw of the Turkish government s designs in S ria
              if its civil war concludes or becomes stalemated. There has been suspicion that
              President Erdogan is already using TIP as a way to exert influence on the events in Syria
              without directly intervening with a large-scale conventional military operation.41 With
              the proximity of the fighting in Idlib to Turkey, President Erdogan has attempted to
              sway control in favour of Turke s interests. However, his government recently
              supported Ahrar al-Sham, which is a rival to JFS.42 This puts into question whether he
              may alter his ongoing support for TIP as he challenges JFS or if he wishes, or is able, to
              split TIP from JFS. The shifting strategic terrain in the Syrian civil war could alter many
              Turkish arrangements with rebel groups.




                                                                                               EXHIBIT T
Case 3:20-cv-00009-NKM Document 4-20 Filed 02/27/20 Page 10 of 19 Pageid#: 142




               2. Seek Sanctuary in Turkey

               Now that the Caliphate is collapsing, some UFFs linked to IS may wish to disengage from
               the fight and settle in Turkey. There are already significant Uighur communities in
               Turkey the Zeytinburnu neighborhood of Istanbul and the town of Kayseri where
               UFFs could choose to reside. However, the Turkish government may not welcome
               Uighur jihadi veterans in the same way that it has welcomed Uighur refugees and
               Uighurs in transit to Syria and Iraq. Turkey has already suffered a number of terror
               attacks and the government may be unwilling to gamble that UFFs would not radicalise
               Uighurs already residing in Turkey and engage in violent operations within the country.
               Sharing an ethnic kinship is no guarantee that UFFs going to Turkey would be pacifistic
               in their intentions or in their actions. Turkey may also substantially crack down on
               Uighur immigration in an effort to strengthen its relations with China. Since the Turkish
               government s severe reaction to the attempted coup in 2016, Turke has faced greater
               international criticism. To reduce its sense of isolation and the possibility of it becoming
               an international pariah, Turkey has sought to improve relations with countries that
               were once unfriendly towards it, including China. The Turkish government may also be
               unwilling to suffer additional international criticism that would come from harbouring
               radical jihadists like UFFs. Pan-Turkic nationalism, therefore, may take a backseat
               compared to other Turkish foreign policy priorities, resulting in a decline in support for
               Uighur issues.


               3. Return to China

               Inevitably, some portion of the overall Uighur foreign fighter population that survives
               the current onslaught in Iraq and Syria will attempt to return back to China. With that
               reality in mind and already faced with rampant smuggling across its borders, China has
               begun building its border patrol capacity through training and exercises. 43 Xinjiang
               shares a border with both Afghanistan and Pakistan, and China is especially concerned
               about the increasing encroachment of what it considers jihadist ideology and influence
               throughout its westernmost province, which is geopolitically important due to
               abundant natural resources, including natural gas, oil, coal, minerals and water. 44

               One of China s primar reasons for consternation is the sense that Xinjiang s once
               separatist insurgency could soon be dominated by those advocating for jihad, which
               could transform the nature and severity of the low-level conflict into a bloodier
               insurgency.45 The conflict in Chechnya followed a similar trajectory during the 1990s
               and into the early 2000s. If a more violent and lethal insurgency does indeed develop
               in Xinjiang, it could jeopardise China s pri ed Belt and Road nitiative, the centerpiece
               of Xi Jinping s foreign and economic polic . 46




                                                                                                        10




                                                                                                 EXHIBIT T
Case 3:20-cv-00009-NKM Document 4-20 Filed 02/27/20 Page 11 of 19 Pageid#: 143




               4. Intensify Jihadist Connections in Southeast Asia

               UFFs in Iraq and Syria may venture beyond the region to find other jihadist battlefields.
               Southeast Asia, particularl ndonesia, has emerged as alternative jihadi ground for
               many radical Uighurs who have been unable to travel to Iraq, Syria or to Turkey. 47 In
               many ways, Southeast Asia has become both a transit hub and a chokepoint for Uighurs
               seeking to travel to join terrorist groups in the Middle East. Many give up the quest and
               join local groups with links to either Al-Qaeda or IS. It is possible that UFFs who did
               make it to Iraq and Syria via Southeast Asia could return to the region and connect with
               UFFs that have become part of local jihadi groups. This would create a potent
               combination of battle-hardened Uighurs and those Uighurs connected with local
               networks.


               5. Participate in a Potential Strategic Coalition between JFS
                  and IS

               Not only are JFS and IS at odds over the conduct of the Syrian war, they both have come
               into armed conflict in other regions where Muslim sectarian violence has become the
               norm. Along the Pakistan-Afghan border, IS and forces backed by JFS parent
               organisation, Al-Qaeda, have engaged in bloody armed skirmishes, resulting in the
               deaths of hundreds. Meanwhile, the two groups have created rifts between jihadist
               factions in hotspots including Somalia, Nigeria, and the Indian subcontinent.

               In the unlikely event that JFS and IS decide to suspend their ideological animosity in an
               effort to focus on the narrow objective of toppling the Assad regime, UFFs will also have
               to put aside their differences. Establishing a joint command between JFS and IS may
               ease the division of labor for UFFs. However, some UFFs may choose to reject such an
               arrangement. For the new JFS-IS coalition, this could lead to problems in command and
               control, intra-coalition disputes or disengagement.


               6. Seek Sanctuary in Central Asia

               By most accounts, China remains an inhospitable destination for many returning
               Uighur foreign fighters. Accordingly, some may seek to return to the broader region of
               Central Asia, which could then be used as a staging ground to launch attacks against
               China. The Uighur diaspora extends across the Central Asian steppe, with large
               numbers of potential recruits in countries like Kazakhstan, Uzbekistan, and Kyrgyzstan.
               Uzbekistan is home to the Islamic Movement of Uzbekistan (IMU) while Kazakhstan has
               experienced a sweeping wave of Islamic extremism within the past several years. 48
               Some Uighur foreign fighters with extensive battlefield experience have already
               returned to Afghanistan.49




                                                                                              EXHIBIT T
Case 3:20-cv-00009-NKM Document 4-20 Filed 02/27/20 Page 12 of 19 Pageid#: 144




               7. Privatise Their Activities for Profit

               Those fighters who will neither return to China nor seek to inhabit sanctuary and safe
               haven in Central Asia may seek to join a private military contractor (PMC). Reports out
               of Syria suggest that an organisation calling itself Malhama Tactical serves as the
                Blackwater of Jihad, and has been contracted to fight, provide training and battlefield
               consulting to a range of e tremist groups fighting the Assad regime. This PMC has even
               fought on the battlefield alongside Uighur foreign fighters in southern Aleppo in
               September 2016. It is likely that other itinerant jihadists could form similar outfits by
               emulating Malhama Tactical, whose leader has suggested China and Myanmar as two
               countries in particular that would benefit from jihad. 50


               8. De-radicalise/De-mobilise

               Another potential future for Uighur foreign fighters is deradicalisation and
               demobilisation. In essence, these are jihadists that could seek to return to China,
               disillusioned with their experiences in Syria and Iraq, and attempt to return to the
               trappings of everyday life. However, returning foreign terrorist fighters are unlikely to
               deradicalise on their own, especially if they are continuously provoked or oppressed by
               Chinese government authorities. To date, China has offered very few signs that it is
               willing to take anything other than a hard line with what it deems to be terrorists.
               Commenting on acts of political violence by disaffected Uighurs in China, terrorism
               expert Rohan Gunaratna noted that Beijing has invested in building infrastructure, but
               not in creating reconciliation. 51

               Moreover, it seems that the Chinese government s repression of Uighurs is actuall
               increasing, with little attempt to assuage what are clearly deeply-held grievances
               among this ethnic minority. 52 In early 2017, Chinese officials in Xinjiang required all
               drivers to install a satellite navigation system in their vehicles, which will help
               authorities track and monitor their movements more efficiently.53 For the record, China
               has voiced concerns that at least a portion of its 10 million-strong Muslim minority is
               vulnerable to radicalisation. 54 However, in many ways, China has implemented
               measures that have exacerbated rather than ameliorated the situation, such as
               roadblocks and security checks throughout the region, including at restaurants, shops
               and hotels.55 There has even been what officials have referred to as blatant displays of
                thunderous power b the authorities, which has entailed thousands of paramilitar
               troops marching through the streets in a show of intimidation.56




                                                                                                     12




                                                                                              EXHIBIT T
Case 3:20-cv-00009-NKM Document 4-20 Filed 02/27/20 Page 13 of 19 Pageid#: 145




               Conclusion
               Beijing could very well be exaggerating the threat posed by its Uighur minority or could
               be suppressing it to inspire investment and instill confidence in government leadership.
               In either case, the difficulty in reporting from this area leaves it unclear which narrative
               is more accurate. Several e perts on China s Uighur minorit , including George
               Washington University cultural anthropologist Sean R. Roberts, have called the
               situation in Xinjiang a self-fulfilling prophec , as Beijing s e aggeration of the threat
               it faced from Uighurs in the early 2000s resulted in increasingly repressive policies that
               have intensified discontent in the region and helped push more and more Uighurs
               toward militanc . 57

               The heavy-handed policies of the Chinese Communist Party have done the government
               a grave disservice. Even a cursory glance at the history of insurgencies in the modern
               era would reveal that what begins as rather banal grievances can manifest over time
               and develop into more deeply seated issues between minority groups and the ruling
               party. Authorities maintain tight control over the restive Uighur population in Xinjiang,
               and can likely continue to do so through repressive measures at least in the short-
               term. However, if the conflict becomes global, as has occurred in places like
               Afghanistan, Chechnya, the Balkans and now Syria, Beijing could soon find itself in the
               crosshairs of a religiously motivated, battle-hardened crop of returning foreign terrorist
               fighters an unenviable position for any nation, to be sure.




                                                                                                 EXHIBIT T
Case 3:20-cv-00009-NKM Document 4-20 Filed 02/27/20 Page 14 of 19 Pageid#: 146




               Bibliography
               Ali, Mohanad Hage. China s Pro War in S ria: Revealing the Role of Uighur Fighters.
               Al                 Arabiya,               March                2,               2016.
               https://english.alarabiya.net/en/perspective/analysis/2016/03/02/China-s-proxy-war-
               in-Syria-Revealing-the-role-of-Uighur-fighters-.html.

               Allen-Ebrahimiam, Bethan . Report: More Than 100 Chinese Muslims Have Joined The
               slamic State. Foreign Policy, July 20, 2016. http://foreignpolicy.com/2016/07/20/report-
               100-chinese-muslims-have-joined-isis-islamic-state-china-terrorism-uighur/.

                At Least 50 Reported to Have Died in Attack on Coalmine in Xinjiang in September. The
               Guardian, October 1, 2015. https://www.theguardian.com/world/2015/oct/01/at-least-
               50-reported-dead-in-september-attack-as-china-celebrates-xinjiang.

               Blanchard, Ben. China Sa s Three Killed in Attack at Xinjiang Train Station. Reuters,
               April     30,     2014.      http://www.reuters.com/article/us-china-xinjiang-blast-
               idUSBREA3T0HX20140430.

               Blanchard, Ben. S ria Sa s up to 5,000 Chinese Uighurs fighting in Militant Groups.
               Reuters, May 11, 2017. http://uk.reuters.com/article/uk-mideast-crIS-syria-china-
               idUKKBN1840UP.

               Botobekov, Uran. China s Nightmare: Xinjiang Jihadists Go Global. The Diplomat,
               August 17, 2016. http://thediplomat.com/2016/08/chinas-nightmare-xinjiang-jihadists-
               go-global/.

               Burton, Gu . China and the Jihadi Threat. Middle East Institute, August 9, 2016.
               http://www.mei.edu/content/map/china-and-jihadi-threat.

               Caffero, Giorgio, and Bertrand Viala. China Turke Relations Grow Despite Differences
               over      Uighurs.       Middle       East    Institute,   March      15,      2016,
               http://www.mei.edu/content/article/china-turkey-relations-grow-despite-differences-
               over-uighurs.

               Cheng-Hin Lim, Alvin. Brussels and Lahore Bombings: mplications for China s War on
               Terrorism. Eurasia Review, March 30, 2016. http://www.eurasiareview.com/30032016-
               brussels-and-lahore-bombings-implications-for-chinas-war-on-terror-analysis/.

                China    Passes     Anti-Terror   Law.     Xinhua,        December       28,     2015.
               http://www.globaltimes.cn/content/960826.shtml.

                China, K rg stan Border Forces Hold E ercises to Stop Arms Smuggling. U.S. News &
               World Report, June 27, 2017. https://www.usnews.com/news/world/articles/2017-06-
               27/china-kyrgyzstan-border-forces-hold-exercises-to-stop-arms-smuggling.

                Chinese Officials Warn of Global Religious E tremism Threat. Voice of America, March
               13,      2017.       https://www.voanews.com/a/chinese-global-religious-extremism-
               threat/3762916.html.




                                                                                               EXHIBIT T
Case 3:20-cv-00009-NKM Document 4-20 Filed 02/27/20 Page 15 of 19 Pageid#: 147




               Clarke, Michael. After S Threat, China Ma Have to Get off Sidelines in Middle East.
               Foreign Policy, March 3, 2017. http://foreignpolicy.com/2017/03/03/after-isis-threat-
               china-may-have-to-get-off-sidelines-in-middle-east/.

               Clarke, Michael. U ghur Militants in S ria: The Turkish Connection. Jamestown
               Terrorism Monitor, February 4, 2016. https://jamestown.org/program/uyghur-militants-
               in-syria-the-turkish-connection/.

                Fellow Uighurs Should Beware of Two-Faced People in Separatism Fight, Official Sa s.
               U.S.       News        &      World        Report,         April    10,         2017.
               https://www.usnews.com/news/world/articles/2017-04-10/fellow-uighurs-should-
               beware-of-two-faced-people-in-separatism-fight-official-says.

               Fishman, Brian. Al-Qaida and the Rise of China: Jihadi Geopolitics in a Post-Hegemonic
               World. The Washington Quarterly 34, no. 3 (Summer 2011): 47-62. doi:
               10.1080/0163660X.2011.588091.

               Giusto i, Antonio. Uighur Islamist Militancy in Syria: Between Al-Qaida and the Islamic
               State, Jane Te    i m & n genc M ni , June 20, 2017.

               Hornb , Luc . S Uighurs Threaten Rivers of Blood. Financial Times, March 2, 2017.
               https://www.ft.com/content/ddeb5872-ff1f-11e6-96f8-3700c5664d30?mhq5j=e1.

               Gunaratna, Rohan, Arabinda Achar a, and Wang Peng in. Uighur Separatism: East
               Turkestan Groups. n Ethnic Identity and National Conflict in China, 47-88. US: Palgrave
               Macmillan, 2010.

                 s China Reall Facing a Terrorist Threat From Uighurs in Xinjiang? World Politics Review,
               April 11, 2017. https://www.worldpoliticsreview.com/trend-lines/21811/is-china-really-
               facing-a-terrorist-threat-from-uighurs-in-xinjiang.

                 stanbul Names Park For sa Yusuf Alptekin. East Turkestan Information Bulletin 5, no.4
               (August 1995). http://caccp.freedomsherald.org/et/etib/etib5_4.html#4.

               Kaiman, Jonathan. slamist Group Claims Responsibilit for Attack on China s
               Tiananmen       Square.     The      Guardian,     November        25,      2013.
               https://www.theguardian.com/world/2013/nov/25/Islamist-china-tiananmen-beijing-
               attack.

               Komar, Rao, Christian Borys, and Eric Woods. The Blackwater of Jihad." Foreign Policy,
               February 10, 2017. http://foreignpolicy.com/2017/02/10/the-world-first-jihadi-private-
               military-contractor-syria-russia-malhama-tactical/.

               Larroca, sabel. The Self-Fulfilling Prophecy of China s Anti-Terrorism Efforts. Wilson
               Quarterly, August 18, 2015. https://wilsonquarterly.com/stories/the-self-fulfilling-
               prophecy-of-chinas-anti-terrorism-efforts/.

               Levin, Dan. At Least 50 Killed in Xinjian Violence, Officials Sa . New York Times,
               September 25, 2014. https://www.nytimes.com/2014/09/26/world/asia/death-toll-in-
               xinjiang-violence-may-be-higher-than-reported.html?_r=0.




                                                                                               EXHIBIT T
Case 3:20-cv-00009-NKM Document 4-20 Filed 02/27/20 Page 16 of 19 Pageid#: 148




               Lin, Christina. Chinese U ghur Colonies in S ria a Challenge for Beijing. Asia Times, May
               21, 2017. http://www.atimes.com/chinese-uyghur-colonies-syria-challenge-beijing/.

               Martina, Michael. About 300 Chinese said Fighting Alongside slamic State in Middle
               East. Reuters, December 15, 2014. http://www.reuters.com/article/us-mideast-crIS-
               china-idUSKBN0JT0UX20141215.

               Martina, Michael, and Ben Blanchard. Uighur S Fighters Vow Blood Will Flow in Rivers
               in China. Reuters, March 1, 2017. https://www.reuters.com/article/us-mideast-crisis-
               iraq-china/uighur-is-fighters-vow-blood-will-flow-in-rivers-in-china-idUSKBN16848H.

                 No Beards, No Veils : Uighur Life in China s Xinjiang. BBC News, March 18, 2017.
               http://www.bbc.com/news/av/world-asia-china-39307077/no-beards-no-veils-uighur-
               life-in-china-s-xinjiang.

               Olesen, Ale a. China Sees slamic State Inching Closer to Home. Foreign Policy, August
               11, 2014. http://foreignpolicy.com/2014/08/11/china-sees-islamic-state-inching-closer-
               to-home/.

               Roggio, Bill. Turkistan slamic Part Emir Thought Killed in 2010 Reemerged to Lead
               Group        in     2014.     Long     War      Journal,     June     11,     2015.
               https://www.longwarjournal.org/archives/2015/06/turkistan-islamic-party-emir-
               thought-killed-in-2010-reemerged-to-lead-group-in-2014.php.

               Roggio, Bill, and Caleb Weiss. Uighur Jihadist Group in S ria Advertises Little Jihadists.
               Long             War           Journal,         September            24,            2015.
               http://www.longwarjournal.org/archives/2015/09/uighur-jihadist-group-in-syria-
               advertises-little-jihadists.php.

               Rosenblatt, Nate. All Jihad is Local: What S Files Tells Us About ts Fighters. New
               America Foundation, July 20, 2016. https://www.newamerica.org/international-
               security/policy-papers/all-jihad-is-local/.

               Small, Andrew. What s Behind China s Growing Securit Presence in Afghanistan?
               World           Politics         Review,         March          21,          2017.
               https://www.worldpoliticsreview.com/articles/21590/what-s-behind-china-s-growing-
               security-presence-in-afghanistan.

               Soliev, Nordirbek. S-E Asia: An Alternative Jihad for Xinjiang s Uighurs? Today,
               February 21, 2017. http://www.todayonline.com/world/s-e-asia-alternative-jihad-
               xinjiangs-uighurs.

               Standish, Reid. Our Future Will Be Violent E tremism. Foreign Policy, August 1, 2017.
               http://foreignpolicy.com/2017/08/01/central-asia-kazakhstan-eurasia-terrorism-
               extremism-isis-al-qaeda/.

               Ta lor, Adam. How Trump Could Find Common Ground With China, Thanks to the
                slamic       State.     Washington       Post,       March      2,    2017.
               https://www.washingtonpost.com/news/worldviews/wp/2017/03/02/how-donald-
               trump-could-find-common-ground-with-china-thanks-to-the-islamic-
               state/?utm_term=.bed71c706563.


                                                                                                      16




                                                                                               EXHIBIT T
Case 3:20-cv-00009-NKM Document 4-20 Filed 02/27/20 Page 17 of 19 Pageid#: 149




                The Bullies of Urumqi: The E traordinar Wa s Which China Humiliates Muslims. The
               Economist, May 4, 2017. https://www.economist.com/news/china/21721680-bans-
               abnormal-beards-and-even-name-muhammad-extraordinary-ways-which-china-
               humiliates.

               Timmons, Heather, and Zheping Huang. s China s Homegrown Terrorism Problem
               Behind the Bangkok Bombing? Quartz, August 19, 2015. https://qz.com/482841/thai-
               police-are-reportedly-investigating-whether-chinas-homegrown-terrorism-problem-
               led-to-the-bangkok-bombing/.

                Turke -Backed Rebel Reinforcements Arrive in Idlib for Nusra Fight-Rebels. New York
               Times,                     July                       20,                      2017,
               https://www.nytimes.com/reuters/2017/07/20/world/middleeast/20reuters-mideast-
               crisis-syria-turkey.html.

                Urumqi Attack Kills 31 in China s Xinjiang Region.        BBC News, May 23, 2014.
               http://www.bbc.com/news/world-asia-china-27502652.

               Vagneur-Jones, Antoine. War and Opportunit : the Turkistan slamic Part and the
               S rian conflict. Fondation Pour La Recherch Strategique, no. 07/2017 (March 2, 2017): 1-
               12. https://www.frstrategie.org/web/documents/publications/notes/2017/201707.pdf.

               Valori, Giancarlo Elia. The East Turkestan slamic Movement. Modern Diplomacy, May
               30,                                                                         2016.
               http://moderndiplomacy.eu/index.php?option=com_k2&view=item&id=1460:the-east-
               turkestan-Islamic-movement&Itemid=488.

               Wa ne, Martin. China s Societ -Centric Counterterrorism Approach. n The Routledge
               Handbook of Insurgency and Counterinsurgency, edited by Paul B. Rich and Isabelle
               Duyvesteyn, 335-346. London: Routledge, 2012.

               Weiss, Caleb. Suicide Bombings Detail Turkistan slamic Part s Role in S ria. Long War
               Journal, May 3, 2017. http://www.longwarjournal.org/archives/2017/05/suicide-
               bombings-detail-turkistan-Islamic-partys-role-in-syria.php.

               Weiss, Caleb. Turkistan slamic Part in S ria Shows more Little Jihadists. Long War
               Journal,                    September                   29,                     2016.
               http://www.longwarjournal.org/archives/2016/09/turkistan-Islamic-party-in-syria-
               shows-more-little-jihadists.php.

               Wertime, David, and Rachel Lu. Enemies of Humanit . Foreign Policy, March 2, 2014.
               http://foreignpolicy.com/2014/03/02/enemies-of-humanity/.

               Wong, Edward. Western China Region Aims to Track People by Requiring Car
               Navigation.      New       York      Times,       February         24,       2017.
               https://www.nytimes.com/2017/02/24/world/asia/china-xinjiang-gps-vehicles.html.

               Wong, Sue-Lin. Securit Clampdown in Far-Western China E acts Toll on Businesses.
               Reuters,   June     28,  2017.    https://www.reuters.com/article/us-china-economy-
               xinjiang/security-clampdown-in-far-western-china-exacts-toll-on-businesses-
               idUSKBN19I310.




                                                                                             EXHIBIT T
Case 3:20-cv-00009-NKM Document 4-20 Filed 02/27/20 Page 18 of 19 Pageid#: 150




               Xu, Beina, Holly Fletcher, and Jayshree Bajoria. Backgrounder: East Turkestan slamic
               Movement. Council on Foreign Relations. Last modified September 4, 2014.
               https://www.cfr.org/backgrounder/east-turkestan-Islamic-movement-etim.

               Zambellis, Chris. Uighur Dissent and Militanc in China s Xinjiang Province. CTC
               Sentinel, January 13, 2010. https://ctc.usma.edu/posts/uighur-dissent-and-militancy-in-
               china%E2%80%99s-xinjiang-province.




                                                                                                   18




                                                                                            EXHIBIT T
Case 3:20-cv-00009-NKM Document 4-20 Filed 02/27/20 Page 19 of 19 Pageid#: 151




        Uighur Foreign Fighters: An Underexamined Jihadist Challenge


         Colin P. Clarke & Paul Rexton Kan
         November 2017

         How to cite: Clarke, Colin, and Paul Rexton Kan. "Uighur Foreign Fighters: An Underexamined Jihadist
         Challenge." The International Centre for Counter-Terrorism - The Hague 8, no. 5 (2017).


         About ICCT

         The International Centre for Counter-Terrorism The Hague (ICCT) is an independent think and do tank
         providing multidisciplinary policy advice and practical, solution-oriented implementation support on
         prevention and the rule of law, two vital pillars of effective counter-terrorism.

          CCT s work focuses on themes at the intersection of countering violent extremism and criminal justice
         sector responses, as well as human rights-related aspects of counter-terrorism. The major project areas
         concern countering violent extremism, rule of law, foreign fighters, country and regional analysis,
         rehabilitation, civil societ engagement and victims voices.

         Functioning as a nucleus within the international counter-terrorism network, ICCT connects experts,
         policymakers, civil society actors and practitioners from different fields by providing a platform for
         productive collaboration, practical analysis, and exchange of experiences and expertise, with the ultimate
         aim of identifying innovative and comprehensive approaches to preventing and countering terrorism.



         Contact ICCT

         ICCT
         Zeestraat 100
         2518 AD The Hague
         The Netherlands

         T +31 (0)70 763 0050
         E info@icct.nl




                                                                                                                      EXHIBIT T
